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 5

 6   Attorney for Defendant
     Hovik Mkrtchian
 7

 8
                               UNITED STATES DISTRICT COURT
 9
                              EASTERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA                      Case Number: 2:12-CR-0322MCE
12                             Plaintiffs,
                                                    DEFENDANT MKRTCHIAN’S
13                                                  EXPARTE REQUEST FOR
      vs.                                           PERMISSION TO TRAVEL
14

15    HOVIK MKRTCHIAN
16
                               Defendant
17

18

19
            Defendant Hovik Mkrtchian is out on a non-secured bond and he has complied with
20
     all terms and conditions of pre-trial services. His pre-trial services are being monitored in the
21
     Central District, Los Angeles, California. The Mkrtchian family has a family engagement
22
     party in Las Vegas, Nevada the first part of January in 2013 and Mr. Mkrtchian request
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24   permission to travel. More specifically, his pre-trial services officer suggested that he seeks

25   permission of the Court. We are now requesting that this Court permit Mr. Mkrtchian to travel
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27                                                   1
28            DEFENDANT MKRTCHIAN’S EXPARTE REQUEST FOR PERMISSION TO TRAVEL
                            Case 2:12-cr-00322-JAM Document 52 Filed 01/09/13 Page 2 of 2


 1   from Los Angeles, California to Las Vegas, Nevada commencing at 6:00 a.m. on January 1,

 2   2013 with his return to Los Angeles on January 3, 2013, at the hour of 7:00 p.m.
 3
                               Mr. Todd Leras, Assistant United States Attorney assigned to this case is aware and
 4
     has agreed to the filing of our request to travel. Mr. Mkrtchian has agreed to continue to
 5
     adhere to all conditions of pre-trial services monitoring, and orders and rules of this
 6
     Honorable Court.
 7

 8                             Dated: December 27, 2012           Respectfully Submitted,

 9                                                                LAW OFFICE OF RICHARD E. NAHIGIAN
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11
                                                                  ______________/s/_______________
12                                                                Attorney for Defendant Mkrtchian

13                             IT IS SO ORDERED.
14

15   Dated: January 8, 2013

16                                                             _________________________________________
                                                               MORRISON C. ENGLAND, JR., CHIEF JUDGE
17                                                             UNITED STATES DISTRICT COURT
     DEAC_Signatu re-END:




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28                               DEFENDANT MKRTCHIAN’S EXPARTE REQUEST FOR PERMISSION TO TRAVEL
